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                   UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF KENTUCKY
                           AT LOUISVILLE


                             ELECTRONICALLY FILED




    UNITED STATES OF AMERICA                                 PLAINTIFF

    v.                    CRIMINAL ACTION NO. 3:19-CR-00208-RGJ

    JOSEPH SAMIR ZAKHARI                                  DEFENDANT


              DEFENDANT ZAKHARI’S MOTION TO SUPPRESS
               AND REQUEST FOR EVIDENTIARY HEARING
          State and federal agents arrested Joseph Zakhari outside his

    apartment building on October 8, 2019. They handcuffed him

    immediately. Before leaving the scene, the officers searched Mr.

    Zakhari’s apartment without a warrant. As the agents worked

    their way through his home, they kept Mr. Zakhari in his living

    room and recorded everything he said. The officers then took Mr.

    Zakhari to a police interrogation room and questioned him for

    more than an hour. During that process, the investigators

    obtained, among other things, the passcode to Mr. Zakhari’s

    iPhone. Relying in part on information acquired through these

    tactics, agents later secured search warrants for Mr. Zakhari’s
    home and iPhone.
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          Before any of Mr. Zakhari’s statements (including the

    communicative act of entering his iPhone passcode) can be

    admitted into evidence at trial, the government must carry the

    burden of proving that the statements were voluntary. Lego v.

    Twomey, 404 U.S. 477, 489 (1972); United States v. Binford, 818

    F.3d 261, 271 (6th Cir. 2016). The government must also

    demonstrate that the warrantless search of Mr. Zakhari’s

    apartment was done with his free consent or was justified by

    exigent circumstances. United States v. Moon, 513 F.3d 527, 537

    (6th Cir. 2008) (consent); United States v. Morgan, 743 F.2d 1158,

    1162 (6th Cir. 1984) (exigent circumstances). If the government’s

    conduct violated Mr. Zakhari’s rights, then the evidence unlawfully

    obtained must be excluded, and so must “all derivative evidence

    flowing from it,” including the products of search warrants “that

    were themselves the fruit of the poisonous tree.” United States v.

    McClain, 444 F.3d 556, 564-565 (6th Cir. 2005). To the extent the

    prosecution contends that the agents’ violations can be excused on
    the grounds of good faith or some other doctrine, the burden is on

    the government to persuade the Court of this. United States v.

    Moore, No. 94-6591, 1995 U.S. App. LEXIS 37069, at *8 (6th Cir.
    Nov. 28, 1995).

          The factual questions governing the legality of the

    government’s actions and the admissibility of the prosecution’s

    evidence cannot be resolved without an evidentiary hearing. See



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    United States v. Abboud, 438 F.3d 554, 577 (6th Cir. 2006). Mr.

    Zakhari accordingly asks the Court to schedule such a hearing in
    this case.

                                   Respectfully submitted,

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                          CERTIFICATE OF SERVICE
          On February 25, 2020, I electronically filed this document

    through the ECF system, which will send a notice of electronic

    filing to counsel of record.

                                   Michael R. Mazzoli
                                   Scott C. Cox
                                   Michael R. Mazzoli


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